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                                                                       JS-6



                UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA




    LISA JUCHA,                         CASE NO. CV 20-11438 DSF (JPRx)
         Plaintiff,

                      v.                JUDGMENT

    KENNETH J. BRAITHWAITE,
       Defendant.



      The “Proof of Service” submitted to the Court was inadequate,
   mail sent to the address provided by Plaintiff has been returned
   as undeliverable, and Plaintiff failed to respond or show a reason
   why this action should not be dismissed in its entirety for the
   failure of plaintiff to serve pursuant to Fed. R. Civ. P. 4(m),
      IT IS ORDERED AND ADJUDGED that this action be
   dismissed.




    Date: April 22, 2021                ___________________________
                                        Dale S. Fischer
                                        United States District Judge
